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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                                CRIMINAL NO. 07-50097-02

 VERSUS                                                  JUDGE S. MAURICE HICKS, JR.

 VERNON CLAVILLE                                         MAGISTRATE JUDGE HORNSBY

                                     MEMORANDUM ORDER

        Before the Court is a Motion to Find 18 U.S.C. § 1961, the Racketeer Influenced

 and Corrupt Organizations Act (“RICO”) statute, Unconstitutional (Record Document 53)

 filed by the defendant, Vernon Claville (“Claville”). Relying on the concurrence in H.J. Inc.

 v. Northwestern Bell Telephone Co., 492 U.S. 229, 109 S.Ct. 2893 (1989), Claville argued

 that the RICO statute is unconstitutional because its definitions and scope are vague,

 ambiguous, and incapable of being interpreted by courts. Specifically, he challenged the

 statute’s “enterprise” requirement under Section 1962(c) and the “pattern of racketeering

 activity” requirement under Section 1962(a). See Record Document 79 at 2. The

 Government opposed the motion, arguing “all ten of the courts of appeals that have

 addressed the issue since H.J. Inc. was decided have rejected the vagueness argument.”

 Record Document 68 at 1-2. The Government also noted that Claville generally attacked

 the RICO statute as being vague and failed to lodge a vagueness complaint in light of the

 facts in this case. See id. at 2.

        A penal statute is void for vagueness if it does not define the criminal offense with

 sufficient definiteness that ordinary people can understand what conduct is prohibited or

 if it encourages arbitrary and discriminatory enforcement. See U.S. v. Gray, 96 F.3d 769,

 776 (5th Cir. 1996) (citations omitted). A vagueness challenge that does not invoke the

 First Amendment must be examined in light of the facts of the case at hand. See id. Thus,
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 the Court must consider whether RICO’s definitions of “enterprise” and “pattern of

 racketeering activity” are sufficient to give an ordinary person in Claville’s situation fair

 notice that an enterprise includes the Judicial Branch of Louisiana government and that his

 alleged acts of extracting bribes in relation to judicial transactions constitute an unlawful

 “pattern of racketeering activity.”

 “Enterprise” Element

        In his reply brief, Claville argued the RICO statute is vague as to what constitutes

 an “enterprise” and that without having a clear definition of “enterprise,” it was impossible

 for him to have notice that his position as a state juvenile court judge allegedly constituted

 being employed by an enterprise, i.e., the Judicial Branch of Louisiana government. See

 Record Document 79 at 2. While it requires some divination, it appears that Claville is

 arguing that RICO’s definition of the “enterprise” requirement is unconstitutionally vague

 because it is so broad that it encourages discriminatory RICO enforcement by the

 Government.

        In this case, Claville had adequate notice that the Judicial Branch of Louisiana

 government was an enterprise which fell within RICO’s ambit. The statute’s definition of

 the term “‘enterprise’ includes any individual, partnership, corporation, association, or other

 legal entity, and any union or group of individuals associated in fact although not a legal

 entity.” 18 U.S.C. § 1961(4). At a minimum, it is clear that the Judicial Branch of Louisiana

 government is “a group of persons associated together for a common purpose of engaging

 in a course of conduct.” U.S. v. Turkette, 452 U.S. 576, 583, 101 S.Ct. 2524, 2528 (1981).

 Moreover, the Fifth Circuit has reasoned that RICO’s definition of “enterprise” is broad

 enough to encompass government entities, departments, and agencies such as courts.


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 See U.S. v. Stratton, 649 F.2d 1066, 1074 (5th Cir. 1981); see also U.S. v. Brown, 555

 F.2d 407, 415 (5th Cir. 1977) (RICO statute’s “language is broad enough to include public

 as well as private entities.”). The Court finds that Claville was adequately warned that the

 Judicial Branch of Louisiana government was an enterprise within RICO’s scope; thus, the

 RICO statute’s “enterprise” element is not unconstitutionally vague as applied to Claville.

 “Pattern of Racketeering Activity” Element

        Claville challenged the “pattern of racketeering activity” element as unconstitutionally

 vague because “there was no notice to [him] that he could be susceptible to allegations of

 a RICO offense by receiving money from acquaintances just because he was a juvenile

 court judge.” Record Document 79 at 2. Thus, the Court must consider whether RICO’s

 definition of “pattern of racketeering activity” is sufficient to given an ordinary person in

 Claville’s situation fair notice that his alleged acts of extracting bribes constitute an unlawful

 “pattern of racketeering activity” accomplished through his position as a public officer.

        The Supreme Court has “defined the ‘pattern’ component to require the prosecution

 to show that the racketeering predicates are related, and that they amount to or pose a

 threat of continued criminal activity.” U.S. v. Krout, 66 F.3d 1420, 1432 (5th Cir. 1995),

 citing H.J. Inc., 492 U.S. at 239, 109 S.Ct. at 2900. The racketeering predicate acts are

 related if they embrace “criminal acts that have the same or similar purposes, results,

 participants, victims, or methods of commission, or otherwise are interrelated by

 distinguishing characteristics and are not isolated events.” H.J. Inc., 492 U.S. at 240, 109

 S.Ct. at 2901. The continuity requirement may be established by either showing a series

 of related predicate acts extending over a substantial period of time or past conduct that

 by its nature projects into the future with a threat of repetition. See id. at 241-242, 109


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 S.Ct. at 2902.

         There is no vagueness problem in applying the H.J., Inc. standard to Claville’s

 alleged acts of extracting bribes. The Government alleged that beginning sometime in

 2004 and continuing until sometime in July 2007, Claville and other defendants improperly

 used the Enterprise to enrich themselves by extracting bribes in the form of cash and other

 things of value from individuals and organizations with business before the Enterprise. See

 Record Document 1, ¶¶ C & E. These predicate acts are related, as the indictment clearly

 reveals that they were part of a scheme by Claville and his co-defendants to illegally profit

 from their positions as, or associations with, public officials. Claville’s alleged conduct also

 easily satisfies the continuity requirement, as the Government alleged that the related

 predicates acts occurred over the course of approximately three years. See id., ¶ E.

 Further, the indictment outlines specific predicate acts occurring from May 2007 through

 July 2007. See id., ¶ F.

         Accordingly,

         IT IS ORDERED that the Motion to Find 18 U.S.C. § 1961 Unconstitutional (Record

 Document 53) filed by the defendant, Vernon Claville, be and is hereby DENIED.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 12th day of March,

 2008.




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